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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   TEXARKANA DIVISION


  UNITED STATES OF AMERICA                        )
                                                  )
                                                  )    No. 4:08CR40020-001
                                                  )
                                                  )
  BERNIE LAZAR HOFFMAN,                           )
  a/k/a TONY ALAMO                                )


                            GOVERNMENT’S NOTICE OF EXPERT
                           WITNESS TESTIMONY AT SENTENCING

         Comes now the United States of America, by and through Deborah J. Groom, United

  States Attorney for the Western District of Arkansas, and for its notice of expert witness

  testimony at the sentencing hearing scheduled for October 23, 2009, states:

         The United States provides notice pursuant to Fed.R.Crim.P. 26.2 that it will call Dr.

  Sharon W. Cooper, M.D., to testify as an expert witness at sentencing. Dr. Cooper is expected to

  opine on the physical, psychiatric and psychological care and costs anticipated for five Jane

  Does in the above-captioned case. The government seeks to introduce Dr. Cooper’s testimony to

  assist this Honorable Court in fashioning a Restitution Order pursuant to 18 U.S.C. §

  3663A(b)(2).1

         Dr. Cooper’s testimony is expected to be approximately two hours long. Her Curriculum

  Vita is attached to this notice as Exhibit A.



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            The government would note that Dr. Cooper’s testimony regarding the issues and
  anticipated costs of treatment necessary for child victims of sexual abuse and exploitation was
  submitted to the District Court for the Eastern District of Kentucky, Ashland Division, and cited
  by that District Court in issuing an Order of Restitution in United States v. John H. Estep,
  Criminal Action Number 0:04-cr-00014-DLB, filed June 27, 2005. (Docket Number 39).
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         The government will provide Dr. Cooper’s report to defense counsel as soon as it is

  submitted to the government.

                                                        Respectfully submitted,

                                                        DEBORAH GROOM
                                                        UNITED STATES ATTORNEY

                                                  By:   /s/ Kyra E. Jenner
                                                        Kyra E. Jenner
                                                        Assistant U. S. Attorney
                                                        Arkansas Bar No. 2000041
                                                        P. O. Box 1524
                                                        Fort Smith, AR 72902
                                                        Telephone: 479-783-5125


                                   CERTIFICATE OF SERVICE

           I, Kyra E. Jenner, Assistant United States Attorney for the Western District of

  Arkansas, hereby certify that a true and correct copy of the foregoing pleading was electronically

  filed on September 22, 2009, with the Clerk of Court using the CM/ECF System which will send

  notification of such filing to the following:

  Don Edward Ervin
  Attorney at Law

  Jeffrey Scott Harrelson
  Attorney at Law

  Phillip E. Kuhn
  Attorney at Law
                                                        /s/ Kyra E. Jenner
                                                        Kyra E. Jenner
                                                        Assistant U.S. Attorney




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